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                                                                                                               E-FILED
                                                                                  Tuesday, 04 April, 2006 02:54:51 PM
                                                                                        Clerk, U.S. District Court, ILCD
                                   UNITEDSTATES DISTRICT COURT
                                    CENTRAL DISTRICT OF ILLINOIS




                                                                             Case NO.    OS -/Odg




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                 42 U.S.C- 51983 (suit against stnte offlcids for constitutional violations)   -
                 25 U.S.C. 5 1331 (suit against federal yfficials for constitution~lviolations)

;a               Other

?tease note: This Jbnn has been c r e d for prisoners but can be adbpted for use by non-prisoners.

              Now comes the plaintiff,                    b
                                          [ E ~ L ~ C OPEC-                         , and states as foI1ows:
v y current address is:         ? 0 ~ B . ? ~ h l h 3 % 6700
                                                          ~ W4L/NP&~ST;


     defendant



     defendant
       /. .
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          5. Disposition (Bat    4, how did the case end.     Was t h e m e dismissed? Was it appmled? L.; it


                                                           . .                                              .   . , .
          6. Approximate date of filing of lawsuit
                                                                                 /     -
                                                                                     .._   .
          7. Approximate date of disposition

     F o r additional cases, provide the above information i the same format on a s e p n n t e page-



     EXELAUSTION OF A D M M I S T R A T I V X REnlfEDX@
                                                          @
    A. Jk t h e r e a grievance procedure available a t your institution?   Ys
    B. Have you filed a grievance concerning the facts relating to #i
                             -
     If y o u r answer is no, esplnir~why not



1   C. Zs t h e grievance ,process completed?     Yes    d'      NO o
    PLEASE NOTB: THE PRXSON LZTIGA TION REFORM ACT BARS ANY INCARCERMED PERSON
    %OM BWNGlNG SUIT CONCERNING TIIE CONDITIONS OF HIS CONHNEMENT UNLESSMD

I   YNTIL HE BASIEXHA USTED AVAILABLE ADMINISTRATWE REMEDIES. PLGASE ATTACH
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                                                    STATEMXNT OF CLAIM




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C o r r e c t i d Center, properly addressed to tbe. parties
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